                Case:
ILND 450 (Rev. 10/13)    1:20-cv-06551
                      Judgment in a Civil Action   Document #: 37 Filed: 09/23/21 Page 1 of 1 PageID #:933

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

East Coast Entertainment of Durham, LLC,

Plaintiff(s),
                                                                    Case No. 20 cv 6551
v.                                                                  Judge Joan B. Gottschall

Houston Casualty Co. and American
Claims Management Inc.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes        pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


            other: Judgment entered in favor of defendants, Houston Casualty Co. and American Claims
Management Inc. and against plaintiff, East Coast Entertainment of Durham, LLC.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Joan B. Gottschall on a motion to dismiss the complaint [11].



Date: 9/23/2021                                                  Thomas G. Bruton, Clerk of Court

                                                                 Marlan Cowan , Deputy Clerk
